          Case 2:21-bk-16674-ER                  Doc 254 Filed 06/17/22 Entered 06/17/22 15:12:53                                        Desc
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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
Michael Chekian, Esq., SBN 165026
Chekian Law Office, Inc.
445 South Figueroa Street, 31st Floor
Los Angeles, CA 90071
Voice (310) 390-5529
Facsimile (310) 451-0739
Email mike@cheklaw.com




      Debtor(s) appearing without an attorney
      Attorney for:

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                               DIVISION

 In re:                                                                      CASE NO.: 2:21-bk-16674-ER
JINZHENG GROUP (USA) LLC,                                                    CHAPTER:



                                                                                        NOTICE OF OPPORTUNITY TO
                                                                                      REQUEST A HEARING ON MOTION

                                                                                                      [LBR 9013-1(o)]


                                                                                          [No hearing unless requested in writing]
                                                              Debtor(s).

TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

               Michael Chekian, Esq.
1. Movant(s) ____________________________________________________________________________________,
                                                   Application for Order Allowing Attorney Fees and Costs as
   filed a motion or application (Motion) entitled _________________________________________________________
   Administrative Expense To Member of Unsecured Creditors’ Committee Pursuant to 11 USC Section 503(b)(3)(D,F)
   _____________________________________________________________________________________________.

2. Movant(s) is requesting that the court grant the Motion without a hearing as provided for in LBR 9013-1(o), unless a
   party in interest timely files and serves a written opposition to the Motion and requests a hearing.

3. The Motion is based upon the legal and factual grounds set forth in the Motion. (Check appropriate box below):
          The full Motion is attached to this notice; or
          The full Motion was filed with the court as docket entry # _____, and a detailed description of the relief sought is
          attached to this notice.

4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
   LBR 9013-1(o), any party who opposes the Motion may request a hearing on the Motion. The deadline to file and serve
   a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3 additional days if
   you were served by mail or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).


          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                           Page 1               F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
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    a. If you timely file and serve a written opposition and request for a hearing, movant will file and serve a notice of
       hearing at least 14 days in advance of the hearing. [LBR 9013-1(o)(4)]

    b. If you fail to comply with this deadline:

        (1) Movant will file a declaration to indicate: (1) the Motion was properly served, (2) the response period elapsed,
            and (3) no party filed and served a written opposition and request for a hearing within 14 days after the date
            of service of the notice [LBR 9013-1(o)(3)];
        (2) Movant will lodge an order that the court may use to grant the Motion; and
        (3) The court may treat your failure as a waiver of your right to oppose the Motion and may grant the Motion
            without further hearing and notice. [LBR 9013-1(h)]




                                                                      Respectfully submitted,



Date: 06/17/2022                                                      /s/ Michael Chekian                                                .
                                                                      Signature of Movant or attorney for Movant

                                                                      Michael Chekian, Esq.                                              .
                                                                      Printed name of Movant or attorney for Movant




         This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 2               F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
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                                                                            1   Michael F. Chekian, Esq. SBN 165026
                                                                            2
                                                                                Chekian Law Office, Inc.
                                                                                445 South Figueroa Street, 31st Floor
                                                                            3   Los Angeles, CA 90071
                                                                                (310) 390-5529-Voice
                                                                            4   (310) 451-0739-Facsimile
                                                                            5   mike@cheklaw.com-Email

                                                                            6   Attorneys for Creditor The Phalanx Group

                                                                            7

                                                                            8
                                                                                                          UNITED STATES BANKRUPTCY COURT
                                                                            9
                                                                                           CENTRAL DISTRICT OF CALIFORNIA –LOS ANGELES DIVISION
                                                                           10
                                                                                In Re:                          ) Chapter 11
                                                                           11                                   ) Case No.: 2:21-bk-16674-ER
                                                                                  Jinzheng Group (USA) LLC,     )
                                                                                                                ) APPLICATION FOR ORDER
            445 S O U T H F I G U E R O A S T R E E T , 31 S T F L O O R




                                                                           12
                                                                                                                ) ALLOWING ATTORNEY FEES AND
                                                                                                                ) COSTS AS ADMINISTRATIVE EXPENSE
C HEKIAN L AW O FFICE
                      L O S A N G E L E S , C A 9007 1




                                                                           13
                                                                                                                ) TO MEMBER OF UNSECURED
                                                                           14                                   ) CREDITORS COMMITTEE PURSUANT
                                                                                                   Debtor(s)    ) TO 11 USC SECTION 503(b)(3)(D, F)
                                                                           15                                   )
                                                                                                                ) No Hearing Required:
                                                                           16                                   ) (LBR 9013-1(o))
                                                                                                                ) Date:
                                                                           17                                   ) Time:
                                                                                                                ) Place:
                                                                           18   TO: HON. JUDGE ROBLES, DEBTOR, ALL CREDITORS AND INTERESTED
                                                                                PARTIES :
                                                                           19
                                                                                         Michael Chekian, Esq. (“Attorney”) attorney for unsecured creditor The Phalanx Group
                                                                           20

                                                                           21   (“Creditor”) hereby applies (“Application”) for an order allowing attorney fees as an

                                                                           22   administrative claim in this Chapter 11 proceeding of Jinzheng Group (USA) LLC (“Debtor”) as
                                                                           23
                                                                                below set forth.
                                                                           24

                                                                           25

                                                                           26
                                                                                   A. STATEMENT OF FACTS

                                                                           27      Creditor is a member of the unsecured creditors committee (“Committee”) in Debtor’s case. Attorney

                                                                           28   represents Creditor in Debtor’s case. The Committee was appointed on January 25, 2022 as docket



                                                                                                                                  1
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                                                                            1   number 93. The United States Trustee approved Creditor’s membership to the Committee by notice filed
                                                                            2   on March 31, 2022 as docket 178, a copy of which is attached as Exhibit A to the within Attorney
                                                                            3   declaration. Debtor’s objection to Creditor’s claim was overruled by the Court’s order entered on April
                                                                            4   25, 2022 as docket 192, a copy of which is attached as Exhibit B to the Attorney declaration.
                                                                            5           As detailed in Exhibit C to the Attorney declaration, Attorney performed the following services
                                                                            6   as a member of the Committee which substantially benefited the administration of the bankruptcy estate.
                                                                            7   In general, Attorney gave comments and suggested courses of action to the attorneys for the Committee to
                                                                            8   guide Debtor to effectively develop, maximize value and sell its assets for the benefit of the bankruptcy
                                                                            9   estate creditor body. Attorney’s work is summarized as follows: a. attended the second Committee
                                                                           10   meeting on March 4, 2022; b. attended another Committee meeting on March 10, 2022; c. reviewed
                                                                           11   Court’s order (docket 164) continuing hearings on 6 claim objections, reviewed court’s website for
            445 S O U T H F I G U E R O A S T R E E T , 31 S T F L O O R




                                                                           12   tentative rulings and sent descriptive emails regarding the same; d. appeared at Committee meeting on
C HEKIAN L AW O FFICE
                      L O S A N G E L E S , C A 9007 1




                                                                           13   March 31, 2022; e. reviewed Debtor’s Chapter 11 plan and disclosure statement and sent email analysis to
                                                                           14   Creditor regarding the same; f. reviewed motion to approve Debtor’s plan and communicated with client
                                                                           15   and Committee regarding the same; g. reviewed amended plan and Committee’s comments, then
                                                                           16   communicated with client and Committee with suggestions for edits to proposed plan; h. emailed
                                                                           17   Committee lawyers and other members regarding objections to Debtor’s amended plan; i. attended
                                                                           18   Committee meeting on April 20, 2022 and further analyzed Debtor’s plan and suggested 5 revisions; j.
                                                                           19   communicated with Committee regarding big picture issues for Committee call on May 24, 2022; k. sent
                                                                           20   emails to Committee lawyers regarding dealing with general unsecured claims and negotiations with
                                                                           21   Debtor’s lawyer; l. attended Committee meeting via Zoom video on May 24, 2022; m. participated in
                                                                           22   Committee meeting on May 27, 2022; n. reviewed, made edits to Debtor's amended plan and sent email to
                                                                           23   Committee members regarding same; o. attended telephonic Committee meeting on June 1, 2022,
                                                                           24   discussed issues related to Debtor’s new attorneys and plan edits and instructed staff regarding
                                                                           25   calendaring issues; p. attended Committee meeting on June 10, 2022; q. reviewed stipulation for Debtor
                                                                           26   to withdraw plan and for Committee to withdraw motion to appoint U.S. Trustee and sent responsive
                                                                           27   email consenting to it; r. reviewed applications to employed Danning Gill and Atkinson firms as new
                                                                           28




                                                                                                                                     2
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                                                                            1   bankruptcy counsel and sent comments to Committee regarding loan repayment terms as to Debtor’s
                                                                            2   principal and need for updated monthly operating reports from Debtor.
                                                                            3           In this case, Attorney’s billing rate is $425 per hour, paralegal time at $145 per hour, plus costs.
                                                                            4           From March 4, 2022 through June 16, 2022, Attorney’s fees incurred for the above referenced
                                                                            5   matter (only as to participation for Committee work) are $4,207.50, total costs are $0.00 and total sought
                                                                            6   to be approved in this fee application is $4,207.50.
                                                                            7

                                                                            8
                                                                                    B. ARGUMENT
                                                                            9
                                                                                    The Bankruptcy Code allows a creditor to recover attorneys' fees as an administrative
                                                                           10

                                                                           11
                                                                                expense if that creditor makes "a substantial contribution in a case under Chapter . . . 11." 11

                                                                                U.S.C. Section 503(b)(3)(D). Also, per Code Section 503(b)(3)(F), administrative expenses are
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                                                                           12
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                                                                           13
                                                                                allowed for a member of a committee appointed under Code Section 1102. In order to recover
                                                                           14
                                                                                on a Section 503(b) administrative claim, a claimant must prove two things: "First, the claimant
                                                                           15
                                                                                must be a creditor of the estate. Second, the creditor must have made a 'substantial contribution'
                                                                           16

                                                                           17   to the bankruptcy plan." In re Cellular 101, Inc., 377 F.3d 1092, 1096 (9th Cir. 2004). The

                                                                           18   Ninth Circuit has stated that "the principal test of substantial contribution is 'the extent of benefit
                                                                           19
                                                                                to the estate.'" Id. "[S]ervices which substantially contribute to a case are those which foster and
                                                                           20
                                                                                enhance, rather than retard or interrupt the progress o[f] reorganization." Id. at 1097 (quoting In
                                                                           21
                                                                                re Consol. Bancshares, Inc., 785 F.2d 1249, 1253 (5th Cir. 1986)). Batiste v. Sun Kona Fin. I,
                                                                           22

                                                                           23   LLC, Civ. No. 15-00397 ACK-KSC, at *14 n.5 (D. Haw. Jan. 12, 2017).

                                                                           24       Here, Committee is appointed under Code Section 1102, Creditor is a Committee member
                                                                           25
                                                                                and Attorney represents Creditor. The Committee has and continues to address and respond to
                                                                           26
                                                                                difficult issues presented in Debtor’s case, including objecting to Debtor’s plan, resolving
                                                                           27

                                                                           28
                                                                                objections to the Committee standing, claim objections, communications with Debtor’s prior and



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                                                                            1   current proposed lawyers, motion to appoint a Chapter 11 trustee and many other pertinent
                                                                            2
                                                                                issues. Attorney has participated in Committee meetings and provided substantive analysis as to
                                                                            3
                                                                                Debtor’s plan and has contributed with analysis and strategy to achieve the overall objectives to
                                                                            4

                                                                            5   maximize and sell estate assets for the benefit of the creditor body. Attorney has provided the

                                                                            6   substantial contribution to the plan administration required under the Code for allowance of his
                                                                            7
                                                                                administrative claim.
                                                                            8

                                                                            9
                                                                                   C. CONCLUSION
                                                                           10

                                                                           11      Therefore, based on the foregoing arguments and authorities, it is respectfully requested that
                                                                                the Application be granted by the Court such that Attorney’s administrative claim be allowed
            445 S O U T H F I G U E R O A S T R E E T , 31 S T F L O O R




                                                                           12

                                                                                under 11 USC Section 503(b) in amount of $4,207.50.
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                                                                           13

                                                                           14

                                                                           15   Dated: June 17, 2022                                 /s/ Michael F. Chekian__________
                                                                                                                                     Michael F. Chekian
                                                                           16                                                        Chekian Law Office
                                                                                                                                     Attorneys for Creditor
                                                                           17

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 1                               DECLARATION OF MICHAEL CHEKIAN IN
 2                      SUPPORT OF APPLICATION FOR ADMINISTRATIVE FEES
 3

 4           I, Michael Chekian, am an attorney duly licensed to practice law in the Central District of
 5   California. I do hereby declare under the penalty of perjury that the following is true and correct to the
 6   best of my personal knowledge and belief, and if called upon as a witness, I could and would personally
 7   testify under oath in a court of law to the truthfulness of each of the below facts.
 8

 9           1.       I am the attorney of record for unsecured creditor The Phalanx Group (“Creditor”) in the
10   chapter 11 bankruptcy case filed by Jinzheng Group (USA) LLC (“Debtor”). Creditor is a member of the
11   unsecured creditors committee (“Committee”) in Debtor’s case. The Committee was appointed on
12   January 25, 2022 as docket number 93, the U.S. Trustee approved The Phalanx Group’s membership to
13   the Committee by notice filed on March 31, 2022 as docket 178, a true and correct copy of which is
14   attached hereto as Exhibit A. Debtor’s objection to Creditor’s claim was overruled by the Court’s order
15   entered on April 25, 2022 as docket 192, a true and correct copy of which is attached hereto as Exhibit B.
16           2.       I performed the following services as a member of the Committee which substantially
17   benefited the administration of the bankruptcy estate. In general, I gave comments and suggested courses
18   of action to the attorneys for the Committee as how to best guide the Debtor to best develop, maximize
19   value and sell its assets for the benefit of the bankruptcy estate creditor body. My work is summarized as
20   follows: a. attended the second Committee meeting on March 4, 2022; b. attended another Committee
21   meeting on March 10, 2022; c. reviewed Court’s order (docket 164) continuing hearings on 6 claim
22   objections, reviewed court’s website for tentative rulings and sent descriptive emails regarding the same;
23   d. appeared at Committee meeting on March 31, 2022; e. reviewed Debtor’s Chapter 11 plan and
24   disclosure statement and sent email analysis to Creditor regarding the same; f. reviewed motion to
25   approve Debtor’s plan and communicated with client and Committee regarding the same; g. reviewed
26   amended plan and Committee’s comments, then communicated with client and Committee with
27   suggestions for edits to proposed plan; h. emailed Committee lawyers and other members regarding
28   objections to Debtor’s amended plan; i. attended Committee meeting on April 20, 2022 and further




      Declaration - 1
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 1   analyzed Debtor’s plan and suggested 5 revisions; j. communicated with Committee regarding big picture
 2   issues for Committee call on May 24, 2022; k. sent emails to Committee lawyers regarding dealing with
 3   general unsecured claims and negotiations with Debtor’s lawyer; l. attended Committee meeting via
 4   Zoom video on May 24, 2022; m. participated in Committee meeting on May 27, 2022; n. reviewed,
 5   made edits to Debtor's amended plan and sent email to Committee members regarding same; o. attended
 6   telephonic Committee meeting on June 1, 2022, discussed issues related to Debtor’s new attorneys and
 7   plan edits and instructed staff regarding calendaring issues; p. attended Committee meeting on June 10,
 8   2022; q. reviewed stipulation for Debtor to withdraw plan and for Committee to withdraw motion to
 9   appoint U.S. Trustee and sent responsive email consenting to it; r. reviewed applications to employed
10   Danning Gill and Atkinson firms as new bankruptcy counsel and sent comments to Committee regarding
11   loan repayment terms as to Debtor’s principal and need for updated monthly operating reports from
12   Debtor.
13             3.    In this case, Creditor and myself agreed to an attorney billing rate of $425 per hour,
14   paralegal time at $145 per hour, plus costs. My current hourly rate is $425. The $425 rate is lower than
15   the billing range of attorneys with similar experience and expertise in the Southern California area. I have
16   been practicing primarily consumer debtor bankruptcy law for over 28 years, am a certified specialist in
17   bankruptcy law through the Board of Legal Specialization at the California State Bar, I am a California
18   licensed real estate broker, and I have filed hundreds of Chapter 13’s and 7’s throughout my career and
19   represented creditors and debtors in over 1 dozen Chapter 11 cases and over 100 creditors in Chapter 7’s,
20   11’s and 13’s throughout the United States. Our current hourly rates are $425 per hour for myself, $300
21   per hour for associate attorneys and $145 per hour for paralegals.
22             4.    From March 4, 2022 through June 16, 2022, the fees incurred for the above referenced
23   matter (only as to participation for Committee work) are $4,207.50, total costs are $0.00 and total sought
24   to be approved in this fee application is $4,207.50. A true and correct copy of my billing records as it
25   pertains to billing work in this matter is attached hereto as Exhibit C. My office makes daily entries of
26   time as we perform work for clients. The time entries are made into our QuickBooks database by myself
27   and my staff at my direction.
28   ///




      Declaration - 2
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 1
             I do hereby declare under the penalty of perjury and pursuant to the laws of the United States
 2
     of America that the foregoing is true and correct and that this declaration is executed this 17th day of
 3
     June, 2022, at Los Angeles, California.
 4

 5
                                                              _/s/ Michael Chekian_____
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      Declaration - 3
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                                                                   FILED & ENTERED

                                                                          APR 25 2022

                                                                     CLERK U.S. BANKRUPTCY COURT
                                                                     Central District of California
                                                                     BY gonzalez DEPUTY CLERK




              UNITED STATES BANKRUPTCY COURT
     CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
 In re:     Jinzheng Group (USA) LLC,             Case No.: 2:21-bk-16674-ER
            Debtor.                               Chapter: 11
                                                  ORDER OVERRULING DEBTOR’S
                                                  OBJECTION TO CLAIM NO. 17-1
                                                  WITHOUT PREJUDICE
                                                  [RELATES TO DOC. NO. 113]

                                                  Date:       March 30, 2022
                                                  Time:       10:00 a.m.
                                                  Location:   Courtroom 1568
                                                              Roybal Federal Building
                                                              255 East Temple Street
                                                              Los Angeles, CA 90012

   At the above-captioned date and time, the Court conducted a hearing on the Objection to
Proof of Claim No. 17 of the Phalanx Group [Doc. No. 113] (the “Claim Objection”) filed by the
Debtor. Good cause appearing therefor, the Court HEREBY ORDERS AS FOLLOWS:

   1) The tentative ruling [Doc. No. 173] is adopted as the final ruling (the “Ruling”) and is
      incorporated herein by reference. The findings supporting the entry of this Order are set
      forth in the Ruling.
   2) The Claim Objection is OVERRULED. Claim No. 17-1, asserted by the Phalanx Group,
      is allowed as an unsecured claim in the amount of $158,845.
   3) This Order is without prejudice to the Debtor’s ability to file a renewed objection to
      Claim No. 17-1 after conducting further discovery.




                                              1                                       EXHIBIT A
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   IT IS SO ORDERED.
                                         ###




    Date: April 25, 2022




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  1   PETER C. ANDERSON
      UNITED STATES TRUSTEE
  2   JILL M. STURTEVANT, State Bar No. 089395
      ASSISTANT UNITED STATES TRUSTEE
  3   HATTY YIP, State Bar No. 246487
      TRIAL ATTORNEY
  4   OFFICE OF THE UNITED STATES TRUSTEE
      915 Wilshire Blvd, Suite 1850
  5   Los Angeles, California 90017
      (213) 894-1507 telephone
  6   (213) 894-2603 facsimile
      Email: hatty.yip@usdoj.gov
  7

  8
                                   UNITED STATES BANKRUPTCY COURT
  9
                                   CENTRAL DISTRICT OF CALIFORNIA
 10
                                         LOS ANGELES DIVISION
 11
      In re:                                         )   Case No.: 2:21-bk-16674-ER
 12                                                  )
                                                     )   Chapter 11
 13   JINZHENG GROUP (USA) LLC,                      )
                                                     )   AMENDED NOTICE OF APPOINTMENT
 14                   Debtor(s).                     )   AND APPOINTMENT OF COMMITTEE
                                                     )   OF CREDITORS HOLDING
 15                                                  )   UNSECURED CLAIMS
                                                     )
 16                                                  )
 17            Pursuant to 11 U.S.C. Section 1102(a), the undersigned hereby amends the appointment of
 18   the members on the Committee of Creditors holding unsecured claims to the following 2 creditors:
 19                                     SEE ATTACHED EXHIBIT A
 20
      DATED: March 31, 2022                                Respectfully submitted,
 21                                                        PETER C. ANDERSON
                                                           UNITED STATES TRUSTEE
 22
                                                                                     Digitally signed by JILL
                                                            JILL STURTEVANT STURTEVANT
 23                                                        _______________________________
                                                                            Date: 2022.03.31 12:50:50 -07'00'


                                                           By:   JILL M. STURTEVANT
 24
                                                                 Assistant United States Trustee
 25

 26

 27

 28                                                  -1-

                                               1                                                    EXHIBIT B
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  1                                             EXHIBIT A

  2   In re: Jinzheng Group (USA) LLC, Case No. 2:21-bk-16674-ER
  3   Betula Lenta, Inc.
      David Park
  4   800 West 6th Street, Suite 1250
      Los Angeles, CA 90017
  5   (213) 537-0158
      david@thecodesolution.com
  6
      The Phalanx Group, Inc.
  7   Anthony Rodriguez
      424 E. 1st Street, Unit #10
  8   Los Angeles, CA 90015
      (213) 494-8542
  9   anthony@phalanx.group
 10

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                                            2                             EXHIBIT B
            Case 2:21-bk-16674-ER        Doc 254 Filed 06/17/22 Entered 06/17/22 15:12:53          Desc
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Chekian Law Office
                                                                                               Invoice
445 South Figueroa Street, 31st Floor
Los Angeles, CA 90071
(310) 390 5529
mike@cheklaw.com
             BILL TO
             The Phalanx Group




INVOICE #              DATE              TOTAL DUE                                               ENCLOSED
                       06/17/2022        $4,207.50




DATE             ACTIVITY               DESCRIPTION                              TIME/QTY   AMT/RATE        TOTAL

03/04/2022       Legal Services         Telephone call with client and attend        0.80     425.00        340.00
                                        2nd creditor committee’s meeting
                                        (Michael Chekian, Esq.)
03/10/2022       Legal Services         Attend Zoom video creditor’s                 0.30     425.00        127.50
                                        committee meeting (Michael Chekian,
                                        Esq.)
03/21/2022       Legal Services         Review order continuing hearings,            0.20     425.00         85.00
                                        review court website for tentative
                                        rulings, email continuing creditor
                                        committee hearing and send
                                        descriptive email to client (Michael
                                        Chekian, Esq.)
03/31/2022       Legal Services         Appear at creditor’s committee Zoom          0.50     425.00        212.50
                                        hearing (Michael Chekian, Esq.)
05/05/2022       Legal Services         Review Chapter 11 plan and                   0.40     425.00        170.00
                                        disclosure statement filed by debtor
                                        and send email to client with
                                        comments and analysis: (Michael
                                        Chekian, Esq.)
05/05/2022       Legal Services         Review motion to approve plan and            0.10     425.00         42.50
                                        send client email re same (Michael
                                        Chekian, Esq.)
05/08/2022       Legal Services         Further review amended plan and              0.40     425.00        170.00
                                        creditor’s committee’s comments re
                                        same. Send detailed email to client
                                        with suggestions for edits to proposed
                                        plan. (Michael Chekian, Esq.)
05/09/2022       Legal Services         Prepare and send email to creditor           0.20     425.00         85.00
                                        committee lawyers and other
                                        committee members regarding
                                        objections to Debtor’s amended plan
                                        (Michael Chekian, Esq.)
05/20/2022       Legal Services         Attend creditor’s committee meeting            1      425.00        425.00
                                        (Michael Chekian, Esq.)
05/21/2022       Legal Services         Prepare email further analyzing plan         0.30     425.00        127.50
                                        and suggesting 5 revisions (Michael

Chekian Law Tax I.D: XX-XXXXXXX
                                                              1                              EXHIBIT C
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                                   Main Document     Page 15 of 20
DATE           ACTIVITY           DESCRIPTION                              TIME/QTY   AMT/RATE        TOTAL

                                  Chekian, Esq.)
05/24/2022     Legal Services     Respond to client’s email regarding          0.10     425.00        42.50
                                  big picture issues for creditor
                                  committee call today regarding our
                                  claim, Park and Testa claims, division
                                  of proposed $4m to be paid to fund
                                  plan (Michael Chekian, Esq.)
05/24/2022     Legal Services     Send emails to client and to creditor        0.20     425.00        85.00
                                  committee lawyers regarding dealing
                                  with general unsecured claims and
                                  negotiations with Debtor’s lawyer
                                  (Michael Chekian, Esq.)
05/24/2022     Legal Services     Attend creditor committee meeting via        0.50     425.00       212.50
                                  Zoom video (Michael Chekian, Esq.)
05/27/2022     Legal Services     Participate in Creditor’s Committee          0.70     425.00       297.50
                                  meeting (Michael Chekian, Esq.)
05/29/2022     Legal Services     Review and make edits on Creditor's          2.30     425.00       977.50
                                  Committee's edits to Debtor's
                                  amended plan. Send email to
                                  Committee members regarding same.
                                  (Michael Chekian, Esq.)
06/01/2022     Legal Services     Attend telephonic creditor committee         0.60     425.00       255.00
                                  meeting, discuss issues related to
                                  new attorneys for Debtor and plan
                                  edits. Take notes re same and
                                  instruct staff regarding calendaring
                                  issues. (Michael Chekian, Esq.)
06/10/2022     Legal Services     Attend creditor committee meeting            0.50     425.00       212.50
                                  regarding possible sale of properties
                                  by new Debtor’s counsel and claims
                                  status. (Michael Chekian, Esq.)
06/15/2022     Legal Services     Review stipulation for Debtor to             0.20     425.00        85.00
                                  withdraw plan and for creditors’
                                  committee to withdraw motion to
                                  appoint U.S.. Trustee. Send
                                  responsive email consenting to it.
                                  (Michael Chekian, Esq.)
06/16/2022     Legal Services     Review applications to employ                0.60     425.00       255.00
                                  Danning Gill and Atkinson firms as
                                  new bankruptcy counsel and send
                                  comments to Committee regarding
                                  loan repayment terms as to Debtor’s
                                  principal and need for updated
                                  monthly operating reports from
                                  Debtor. (Michael Chekian, Esq.)
                                                            BALANCE DUE
                                                                                                 $4,207.50




Chekian Law Tax I.D: XX-XXXXXXX
                                                        2                              EXHIBIT C
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                                         PROOF OF SERVICE OF DOCUMENT
          I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
445 South Figueroa Street, 31st Floor, Los Angeles, CA 90071.
     A true and correct copy of the foregoing document entitled (specify): Notice of Opportunity To Request A Hearing on
Motion and Application for Order Allowing Attorney Fees and Costs as Administrative Expense To Member of Unsecured
Creditors’ Committee Pursuant to 11 USC Section 503(b)(3)(D, F) will be served or was served (a) on the judge in chambers
in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______June 17, 2022________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:

Donna Bullock Carrera: donnabullockcarrera@yahoo.com
Steven P Chang: heidi@spclawoffice.com
Susan Titus Collins: scollins@counsel.lacounty.gov
Richard Girgado: rgirgado@counsel.lacounty.gov
M. Jonathan Hayes: jhayes@rhmfirm.com
Eric A Mitnick: MitnickLaw@aol.com
Matthew D. Resnik: matt@rhmfirm.com
Allan D Sarver: david@shevitzlawfirm.com
Investment Management Company LLC c/o Allan D Sarver: ADS@asarverlaw.com
JINZHENG GROUP (USA) LLC c/o Christopher J Langley: chris@slclawoffice.com
Michael E. Dorff and Shari L. Dorff c/o Benjamin R Levinson, ESQ: ben@benlevinsonlaw.com
OFFICIAL COMMITTEE OF UNSECURED CREDITORS c/o Jeffrey W Dulberg: jdulberg@pszjlaw.com
OFFICIAL COMMITTEE OF UNSECURED CREDITORS c/o Teddy M Kapur: tkapur@pszjlaw.com
Orantes Law Firm, P.C. c/o Giovanni Orantes: go@gobklaw.com
Royalty Equity Lending, LLC/Bobs LLC c/o Matthew D. Resnik: matt@rhmfirm.com
United States Trustee (LA): ustpregion16.la.ecf@usdoj.gov
United States Trustee (LA) c/o Hatty K Yip: hatty.yip@usdoj.gov
Michael F Chekian: mike@cheklaw.com
JINZHENG GROUP (USA) LLC c/o Zev Schechtman: zshechtman@DanningGill.com
Donald W. Reid: don@donreidlaw.com
Daniel Samuel Shevitz: david@shevitzlawfirm.com
John N. Tedford, IV: jtedford@DanningGill.com
JINZHENG GROUP (USA) LLC c/o Alphamorlai Lamine Kebeh: akebeh@danninggill.com
LAW OFFICES OF PETER C/O Peter A. Kim: peter@pkimlaw.com
LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR c/o Oscar Estrada: oestrada@ttc.lacounty.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______June 17, 2022________, I served the following persons and/or entities at the last known addresses in
this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration
that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __/201_____________, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.
                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

    06/17/2022                              Michael Chekian                                      /s/ Michael Chekian
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
               Case 2:21-bk-16674-ER   Doc 254 Filed 06/17/22 Entered 06/17/22 15:12:53 Desc
Label Matrix for local noticing         ChekianDocument
                                       Main     Law Office, Inc. Page 18 of 20 Investment Management Company LLC
0973-2                                  Chekian Law Office, Inc.                    Law Offices Allan Sarver
Case 2:21-bk-16674-ER                   445 South Figueroa Street                   16000 Ventura Blvd
Central District of California          31st Floor                                  Suite 1000
Los Angeles                             Los Angeles, CA 90071-1635                  Encino, CA 91436-2762
Thu Jun 16 15:34:37 PDT 2022
JINZHENG GROUP (USA) LLC                LAW OFFICES OF PETER KIM                    (p)LOS ANGELES COUNTY TREASURER AND TAX COLLE
1414 S Azusa Ave, Suite B-22            LAW OFFICES OF PETER KIM                    ATTN BANKRUPTCY UNIT
West Covina, CA 91791-4084              3450 Wilshire Blvd                          PO BOX 54110
                                        Ste 1200                                    LOS ANGELES CA 90054-0110
                                        Los Angeles, CA 90010-2214

Orantes Law Firm, P.C.                  The Phalanx Group                           Los Angeles Division
The Orantes Law Firm, P.C.              c/o Michael Chekian, Esq.                   255 East Temple Street,
3435 Wilshire Blvd., suite 2920         Chekian Law Office                          Los Angeles, CA 90012-3332
los angeles, CA 90010-2015              445 South Figueroa Street
                                        31st Floor
                                        Los Angeles, CA 90071-1635
Accutax Services                        American Modern Insurance                   BETTY ZHENG
9040 Telstar Ave Ste 105                7000 Midland Blvd                           28 N. 3RD ST. #b513
El Monte CA 91731-2838                  Amelia OH 45102-2608                        ALHAMBRA, CA 91801-6234



BOBS LLC                                BREEZEBLOCK CAPITAL, LLC                    Bamboo Insurance
Attn: Barry Shy                         c/o Pacific Mortgage Exchange, Inc.         7050 Union Park Center Ste 400B
7525 Avalon Bay St                      P.O. Box 2836                               Midvale UT 84047-6055
Las Vegas, NV 89139-5307                Big Bear Lake, CA 92315-2836


Bentula Lenta, Inc.                     Best Alliance                               Betula Lenta Inc.
David Park                              16133 Ventura Blvd.                         800 West 6th Street
800 W. 6th Street                       Suite 700                                   Suite 1250
Suite 1250                              Encino, CA 91436-2406                       Los Angeles, CA 90017-2721
Los Angeles, CA 90017-2721

Build Group Construction Co             California American Water                   Corona Capital Group, LLC
700 Flower St 575                       8657 Grand Ave                              1222 Crenshaw Blvd.
Los Angeles CA 90017-4122               Rosemead CA 91770-1220                      #B
                                                                                    Torrance, CA 90501-2496


Craig Fry & Associates                  Craig Fry and Associates                    DNQ LLC
990 S. Arroya Pkwy, #4                  990 Arroyo Parkway #4                       Jason D Wang
Pasadena, CA 91105-3920                 Pasadena, CA 91105-3920                     6145 W Spring Mountain Rd. #205
                                                                                    Las Vegas NV 89146-8819


David S Zu                              David Z. Su                                 Donna Bullock
100 N Citrus St Ste 330                 100 N. Citrus Street Ste 615                Attorney at Law
West Covina CA 91791-1674               West Covina, CA 91791-6600                  800 W 6th St
                                                                                    Suite 1250
                                                                                    Los Angeles, CA 90017-2721

Donna Bullock Esq                       EFI Global                                  Employment Development Department
Law Offices of Donna Bullock            5261 W Imperial Hwy                         Bankruptcy Group MIC 92E
800 W 6th St Suite 1250                 Los Angeles CA 90045-6231                   P.O. Box 826880
Los Angeles CA 90017-2721                                                           Sacramento, CA 94280-0001
               Case 2:21-bk-16674-ER   Doc 254 Filed 06/17/22 Entered 06/17/22 15:12:53 Desc
Franchise Tax Board                     Franchise
                                       Main       Tax Board Chief Page
                                               Document           Counsel 19 of 20 Griffin Underwriters
Bankruptcy Section, MS:A-340            c/o General Counsel Section             PO Box 3867
P.O. Box 2952                           P.O. Box 720, MS: A-260                 Bellevue WA 98009-3867
Sacramento, CA 95812-2952               Rancho Cordova, CA 95741-1720


Home Loans Unlimited                    Home Loans Unlimited, Inc.              Internal Revenue Service
Attn Daniel Triana                      28859 Phantom Trail                     P.O. Box 7346
28859 Phantom Trail                     Santa Clarita, CA 91390-5295            Philadelphia, PA 19101-7346
Santa Clarita, CA 91390-5295


Investment Management Company           Jade Capital                            Jianqing Yang
1507 7th Street, #344                   333 Thornall St Ste 101                 PO Box 3702
Santa Monica, CA 90401-2605             Edison NJ 08837-2220                    Alhambra CA 91803-0702



Jinzheng Group (USA) LLC                LA City Treasurer and Tax Collector     Land Design Consultants
100 E. Huntington Dr. Ste 207           255 N Hill St 1st Fl                    800 Royal Oaks Drive
Alhambra, CA 91801-1022                 Los Angeles CA 90012-2705               Suite 104
                                                                                Monrovia, CA 91016-6364


Law Offices of Matthew C. Mullhofer     Los Angeles Treasurer Tax Collector     Marc Cohen
2107 N. Broadway                        P.O. Box 54018                          Cohen Law Group, APC
Suite 103                               Los Angeles, CA 90054-0018              541 S. Spring Street
Santa Ana, CA 92706-2633                                                        Ste. 1208
                                                                                Los Angeles, CA 90013-1667

Michael Carlin                          Michael E. Dorff and Shari L. Dorff     Office of the United States Trustee
PO Box 67132                            3239 Bordero Lane                       915 Wilshire Blvd.
Century City, CA 90067-0132             Thousand Oaks, CA 91362-4659            Los Angeles, CA 90017-3409



Overland Traffic Consultants            Pacific Geotech Inc                     Pacific Mortgae Exchange, Inc.
952 Manhattan Beach Blvd 100            Attn Jirayus Pukkansasut                73241 Hwy. 111, Ste. 1-A
Manhattan Beach CA 90266-5112           15038 Clark Ave                         Palm Desert, CA 92260-3921
                                        Hacienda Heights CA 91745-1408


Pennington Construction Advisors Inc    Phalanx                                 (p)ROYAL BUSINESS BANK
Attn: Todd C. Pennington                424 E. 15th Street                      1055 WILSHIRE BLVD SUITE 1220
79 Bell Pasture Rd                      Suite 10                                LOS ANGELES CA 90017-3103
Ladera Ranch CA 92694-1558              Los Angeles, CA 90015-3140


Royalty Equity Lending LLC              Shawn Charles Sourgose                  State Farm Insurance
600 S. Spring Street                    2111 Seville Drive                      PO Box 588002
Suite 106                               Santa Paula, CA 93060-8042              North Metro GA 30029-8002
Los Angeles, CA 90014-1979


Testa Capital Group                     Testa Capital Group                     The Alison Company
620 Newport Center Dr., #1100           Attn Thomas L Testa                     2060 D Avenida De Los Arboles
Newport Beach, CA 92660-8011            620 Newport Center Drive                #471
                                        Suite 1100                              Thousand Oaks, CA 91362-1376
                                        Newport Beach, CA 92660-8011
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The Code Solution, Inc.                               The Orantes
                                                     Main         Law Firm APC Page 20 of 20
                                                             Document                        The Phalanx Group
Attn Jamie Cho                                         3435 Wilshire Blvd. Ste 2920                         424 E. 15th St Ste 10
800 W. 6th Street                                      Los Angeles, CA 90010-2015                           Los Angeles, CA 90015-3140
Suite 1250 A
Los Angeles, CA 90017-2721

The Phalanx Group                                      The Phalanx Group, Inc.                              The Phallanx Group
Anthony Rodriguez                                      Anthony Rodriguez                                    Anthony Rodriguez
424 E 15th St Ste Unit 10                              424 E. 1st Street, Unit #10                          424 E. 1st Street, Unit #10
Los Angeles CA 90015-3140                              Los Angeles, CA 90012                                Los Angeles CA 90012


UltraSystems Environmental                             United States Trustee (LA)                           Yepez Gardening Services
Attn Hassan Ayati                                      915 Wilshire Blvd, Suite 1850                        2121 N Marengo Ave
16431 Scientific Way                                   Los Angeles, CA 90017-3560                           Pasadena CA 91001
Irvine, CA 92618-4355


Alphamorlai Lamine Kebeh                               Donna Bullock Carrera                                Matthew Resnik
Danning, Gill, Israel & Krasnoff, LLP                  LAW OFFICES OF DONNA BULLOCK                         RHM LAW LLP
1901 Avenue of the Stars                               800 W 6th St                                         17609 Ventura Blvd. Suite 314
Ste 450                                                Ste 1250                                             Encino, CA 91316-5132
Los Angeles, CA 90067-6006                             Los Angeles, CA 90017-2721

Michael Douglas Carlin                                 Zev Shechtman
PO Box 67132                                           Danning, Gill, Israel & Krasnoff, LLP
Century City, CA 90067-0132                            1901 Avenue of the Stars
                                                       Suite 450
                                                       Los Angeles, CA 90067-6006



                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


LOS ANGELES COUNTY TREASURER AND TAX COLLECT           (d)Los Angeles County Tax Collector                  (d)Los Angeles County Tax Collector
PO BOX 54110                                           225 N. Hill Street, #1                               P.O. Box 54018
LOS ANGELES, CA 90054-0110                             Los Angeles, CA 90012                                Los Angeles, CA 90054-0018



(d)Los Angeles County Treasurer and Tax Colle          Royal Business Bank
Attn: Bankruptcy Unit                                  1055 Wilshire Blvd.
PO Box 54110                                           Suite 1220
Los Angeles, CA 90054-0110                             Los Angeles, CA 90017




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                        (u)INTERESTED PARTY                                  (u)Michael E. Dorff and Shari L. Dorff
